Case
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------------x
   ELBERT DAWKINS, on behalf of himself and :
   all others similarly situated,                               :
                                                                :    STIPULATION OF DISMISSAL
                                       Plaintiffs,              :    WITH PREJUDICE
                                                                :
                     -against-                                  :    No.: 22-cv-2474
                                                                :
   CITARELLA OPERATING, LLC,                                    :
                                                                :
                                       Defendant.               :
                                                                :
                                                                :
                                                                :
  -------------------------------------------------------------x

       IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff Elbert Dawkins
  and Defendant Citarella Operating, LLC, through their respective undersigned counsel, whereas
  no party hereto is an infant or incompetent person for whom a committee has been appointed,
  and no person not a party has an interest in the subject matter of the action, in accordance with
  Rule 41 of the Federal Rules of Civil Procedure, the Complaint in the above-captioned action
  and all claims alleged therein be dismissed with prejudice, with each party to bear its own fees
  and costs.
  Dated: New York, NY
                    22 2022
         September ____,

   STEIN SAKS, PLLC                                           CLIFTON BUDD & DeMARIA, LLP



    s/Mark Rozenberg
   __________________________                                 __________________________
   Mark Rozenberg, Esq.                                       Daniel W. Morris
   Attorneys for Plaintiff                                    Ian-Paul A. Poulos
   One University Plaza, Suite 620                            Attorneys for Defendant
   Hackensack, NJ 07601                                       The Empire State Building
   (201) 282-6500                                             350 Fifth Avenue, 61st Floor
                                                              New York, New York 10118
                                                              212-687-7410
  SO ORDERED:
  s/ MKB 10/06/2022
  ______________________
  MARGO K. BRODIE
  United States District Judge
